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                       Exhibit 2
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 Peter Navarro




                  Peter Navarro
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  Peter Navarro             Peter
                           Navarro
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  Peter Navarro
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Peter Navarro
